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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


   MITSUBISHI ELECTRIC CORP. (alternatively
   named MITSUBISHI DENKI KABUSHIKI
   KAISHA), KONINKLIJKE PHILIPS N.V., and
   THOMSON LICENSING,
                                                            Civil Action No. 9:13-cv-80745-DMM
                         Plaintiffs,
   v.                                                       JURY TRIAL DEMANDED
   MOTOROLA MOBILITY LLC,
                         Defendant.


        PLAINTIFFS’ ANSWER TO MOTOROLA MOBILITY LLC’S COUNTERCLAIMS

           Plaintiffs Mitsubishi Electric Corp. (alternatively named Mitsubishi Denki Kabushiki

   Kaisha) (“Mitsubishi”), Koninklijke Philips N.V. (“Philips”), and Thomson Licensing

   (“Thomson”) (together, “Plaintiffs”) answer the Counterclaims of Defendant Motorola Mobility

   LLC (“Motorola”) as follows.

                                               PARTIES

           1.     Upon information and belief, Plaintiffs admit the allegations in Paragraph 1.

           2.     Plaintiffs admit the allegations in Paragraph 2.

           3.     Plaintiffs admit the allegations in Paragraph 3.

           4.     Plaintiffs admit the allegations in Paragraph 4.

                                   JURISDICTION AND VENUE

           5.     Plaintiffs admit that Motorola purports to base these purported Counterclaims on

   the patent laws of the United States, 35 U.S.C. § 1, et seq., and the Declaratory Judgment Act, 28

   U.S.C. §§ 2201 and 2202.

           6.     Plaintiffs admit that this Court has jurisdiction over the subject matter of these

   purported Counterclaims.
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          7.      Plaintiffs admit that they are subject to personal jurisdiction in this District for

   purposes of these purported Counterclaims. No answer is required to the remaining allegations

   in Paragraph 7, which merely purport to state conclusions of law.

          8.      Plaintiffs admit that venue is proper in this District for purposes of these

   purported Counterclaims. No answer is required to the remaining allegations in Paragraph 8,

   which merely purport to state conclusions of law.

                                COUNT I
        DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 7,376,184

          9.      Mitsubishi admits that it has alleged, among other things, that Motorola has

   infringed and continues to infringe U.S. Patent No. 7,376,184 (the “’184 Patent”), and that

   Motorola purports to deny that it infringes or has infringed the claims of the ’184 Patent.

          10.     No answer is required to the allegations in Paragraph 10, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          11.     Plaintiffs deny the allegations in Paragraph 11.

                                    COUNT II
                DECLARATION OF INVALIDITY OF U.S. PATENT NO. 7,376,184

          12.     Mitsubishi admits that it has alleged, among other things, that Motorola has

   infringed and continues to infringe the ’184 Patent.

          13.     Plaintiffs deny the allegations in Paragraph 13.

          14.     No answer is required to the allegations in Paragraph 14, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          15.     Plaintiffs deny the allegations in Paragraph 15.




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                                COUNT III
         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 6,097,759

          16.     Mitsubishi admits that it has alleged, among other things, that Motorola has

   infringed and continues to infringe U.S. Patent No. 6,097,759 (the “’759 Patent”), and that

   Motorola purports to deny that it infringes or has infringed the claims of the ’759 Patent.

          17.     No answer is required to the allegations in Paragraph 17, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          18.     Plaintiffs deny the allegations in Paragraph 18.

                                    COUNT IV
                DECLARATION OF INVALIDITY OF U.S. PATENT NO. 6,097,759

          19.     [No Paragraph 19 appears in the Counterclaims.]

          20.     [No Paragraph 20 appears in the Counterclaims.]

          21.     Mitsubishi admits that it has alleged, among other things, that Motorola has

   infringed and continues to infringe the ’759 Patent.

          22.     Plaintiffs deny the allegations in Paragraph 22.

          23.     No answer is required to the allegations in Paragraph 23, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          24.     Plaintiffs deny the allegations in Paragraph 24.

                                 COUNT V
         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 7,362,805

          25.     Mitsubishi admits that it has alleged, among other things, that Motorola has

   infringed and continues to infringe U.S. Patent No. 7,362,805 (the “’805 Patent”), and that

   Motorola purports to deny that it infringes or has infringed the claims of the ’805 Patent.



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          26.     No answer is required to the allegations in Paragraph 26, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          27.     Plaintiffs deny the allegations in Paragraph 27.

                                    COUNT VI
                DECLARATION OF INVALIDITY OF U.S. PATENT NO. 7,362,805

          28.     Mitsubishi admits that it has alleged, among other things, that Motorola has

   infringed and continues to infringe the ’805 Patent.

          29.     Plaintiffs deny the allegations in Paragraph 29.

          30.     No answer is required to the allegations in Paragraph 30, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          31.     Plaintiffs deny the allegations in Paragraph 31.

                                COUNT VII
         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 5,606,539

          32.     Philips admits that it has alleged, among other things, that Motorola has infringed

   and continues to infringe U.S. Patent No. 5,606,539 (the “’539 Patent”), and that Motorola

   purports to deny that it infringes or has infringed the claims of the ’539 Patent.

          33.     No answer is required to the allegations in Paragraph 33, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          34.     Plaintiffs deny the allegations in Paragraph 34.




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                                   COUNT VIII
                DECLARATION OF INVALIDITY OF U.S. PATENT NO. 5,606,539

          35.     Philips admits that it has alleged, among other things, that Motorola has infringed

   and continues to infringe the ’539 Patent.

          36.     Plaintiffs deny the allegations in Paragraph 36.

          37.     No answer is required to the allegations in Paragraph 37, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          38.     Plaintiffs deny the allegations in Paragraph 38.

                                 COUNT IX
         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 5,333,135

          39.     Philips admits that it has alleged, among other things, that Motorola has infringed

   and continues to infringe U.S. Patent No. 5,333,135 (the “’135 Patent”), and that Motorola

   purports to deny that it infringes or has infringed the claims of the ’135 Patent.

          40.     No answer is required to the allegations in Paragraph 40, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          41.     Plaintiffs deny the allegations in Paragraph 41.

                                    COUNT X
                DECLARATION OF INVALIDITY OF U.S. PATENT NO. 5,333,135

          42.     Philips admits that it has alleged, among other things, that Motorola has infringed

   and continues to infringe the ’135 Patent.

          43.     Plaintiffs deny the allegations in Paragraph 43.




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          44.     No answer is required to the allegations in Paragraph 44, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          45.     Plaintiffs deny the allegations in Paragraph 45.

                                 COUNT XI
         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 5,422,676

          46.     Thomson admits that it has alleged, among other things, that Motorola has

   infringed and continues to infringe U.S. Patent No. 5,422,676 (the “’676 Patent”), and that

   Motorola purports to deny that it infringes or has infringed the claims of the ’676 Patent.

          47.     No answer is required to the allegations in Paragraph 47, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          48.     Plaintiffs deny the allegations in Paragraph 48.

                                   COUNT XII
                DECLARATION OF INVALIDITY OF U.S. PATENT NO. 5,422,676

          49.     Thomson admits that it has alleged, among other things, that Motorola has

   infringed and continues to infringe the ’676 Patent.

          50.     Plaintiffs deny the allegations in Paragraph 50.

          51.     No answer is required to the allegations in Paragraph 51, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          52.     Plaintiffs deny the allegations in Paragraph 52.




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                                COUNT XIII
         DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO. 5,459,789

          53.     Thomson admits that it has alleged, among other things, that Motorola has

   infringed and continues to infringe U.S. Patent No. 5,459,789 (the “’789 Patent”), and that

   Motorola purports to deny that it infringes or has infringed the claims of the ’789 Patent.

          54.     No answer is required to the allegations in Paragraph 54, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          55.     Plaintiffs deny the allegations in Paragraph 55.

                                   COUNT XIV
                DECLARATION OF INVALIDITY OF U.S. PATENT NO. 5,459,789

          56.     Thomson admits that it has alleged, among other things, that Motorola has

   infringed and continues to infringe the ’789 Patent.

          57.     Plaintiffs deny the allegations in Paragraph 57.

          58.     No answer is required to the allegations in Paragraph 58, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          59.     Plaintiffs deny the allegations in Paragraph 59.

                                       EXCEPTIONAL CASE

          60.     No answer is required to the allegations in Paragraph 60, which merely purport to

   state conclusions of law. To the extent a response is required, Plaintiffs deny each and every one

   of such allegations.

          The remainder of the Counterclaims constitutes Motorola’s prayer for relief, to which no

   response is required. To the extent a response is required, Plaintiffs specifically deny that




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   Motorola is entitled to any relief whatsoever. All allegations not specifically admitted to by

   Plaintiffs in this Answer are denied.

                                             JURY DEMAND

           In accordance with Fed. R. Civ. P. 38(b), Plaintiffs hereby demand a trial by jury on all

   issues so triable.

                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs deny that Motorola is entitled to any relief, including the relief

   requested by it in its Prayer for Relief. Plaintiffs respectfully request that this Court enter

   judgment against Motorola and in favor of Plaintiffs:

           (a)     Denying all relief requested by Motorola;

           (b)     Dismissing all of Motorola’s Counterclaims, with prejudice;

           (c)     Declaring that Motorola has infringed U.S. Patent Nos. 7,376,184, 6,097,759,

                   7,362,805, 5,606,539, 5,333,135, 5,422,676, and 5,459,789;

           (d)     Awarding Plaintiffs damages adequate to compensate for Motorola’s infringing

                   activities, at a minimum, during the period starting January 1, 2011, together with

                   prejudgment and post-judgment interest on the damages awarded; all of these

                   damages to be enhanced in an amount up to treble the amount of compensatory

                   damages as justified under 35 U.S.C. § 284;

           (e)     Declaring that this case is exceptional under 35 U.S.C. § 285 and awarding

                   Plaintiffs their reasonable costs and expenses of litigation, including attorneys’

                   fees and experts’ fees;

           (f)     Entering judgment against Motorola and in favor of Plaintiffs in all respects; and




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          (g)    Awarding Plaintiffs such other and further relief as the Court deems just and

                 proper.

   Dated: October 3, 2013                             Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 3rd day of October, 2013 a true and correct copy of the
   foregoing was electronically filed with the Clerk of the Court by using the CM/ECF system. I
   also certify that the foregoing document is being served this day on all counsel of record
   identified on the attached Service List in the manner specified, either via transmission of Notices
   of Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel
   or parties who are not authorized to receive electronically Notices of Electronic Filing.


                                                     /s/ Payal Salsburg
                                                        Payal Salsburg


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